     Case 2:13-cr-02092-LRS   ECF No. 624   filed 10/21/13   PageID.1158 Page 1 of 1




 1
 2                       UNITED STATES DISTRICT COURT
 3                      EASTERN DISTRICT OF WASHINGTON
 4
 5 UNITED STATES OF AMERICA,                    No. CR-13-2092-LRS-36

 6                   Plaintiff,                 ORDER GRANTING MOTION

 7 vs.                                          AND SETTING CONDITIONS

 8                                              OF RELEASE

 9 GABRIEL LOUIS LIMON,                         ☒      Motion Granted

10                                                     (ECF No. 606)

11                   Defendant.                 ☐      Action Required

12
13
     Date of Bail Review Motion hearing: 10/21/2013
14
15        The Court modified the Order Setting Conditions of Release

16   and removed the bail requirement. United States Probation is

17   directed   to    inspect     Defendant’s       potential      residence     and
18   determine whether it is suitable. Upon U.S. Probations approval
19
     of the residence, Defendant shall then be released from custody
20
     on Friday, October 25, 2013, at 8:00 AM.
21
22        All other conditions previously imposed remain in full
     effect.
23
          IT IS SO ORDERED.
24
25   DATED October 21, 2013.

26                             s/James P. Hutton
                                JAMES P. HUTTON
27                      UNITED STATES MAGISTRATE JUDGE
28
     ORDER GRANTING MOTION AND SETTING CONDITIONS OF RELEASE - 1
